46 F.3d 1127
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Dale GREENE, Defendant-Appellant.
    No. 94-6746.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sep. 13, 1994.Decided Jan. 17, 1995.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  James C. Fox, Chief District Judge.  (CR-92-37-F, CA-94-422-5)
      Before WILKINS and NIEMEYER, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      Dale Greene, Appellant Pro Se.  Jane H. Jolly, Assistant United States Attorney, Raleigh, North Carolina, for Appellee.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Greene, Nos.  CR-92-37-F;  CA-94-422-5 (E.D.N.C. June 17, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    